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AO 442 (Rev. 11/11) Arrest Wmant



                                          UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District of Columbia

                   United States of America
                                 V.                                        )       Case: 1:24-mj-00277
                         Steven Hassel                                     )       Assigned To : Judge G. Michael Harvey
                                                                           )       Assign. Date: 8/27/2024
                                                                           )       Description: COMPLAINT W/ARREST WARRANT
                                                                           )
                                                                           )
                             Defendant


                                                             ARREST WARRANT
To:       Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be a"ested)                                       Steven Hassel
who is accused of an offense or violation based on the following document filed with the court:

□     Indictment           □   Superseding Indictment             □ Information        □ Superseding Information            ]I Complaint
□     Probation Violation Petition             □ Supervised Release Violation Petition           □ Violation Notice         □ Order of the Court


This offense is briefly described as follows:
 18 U.S.C. § 23 l(a)(3) (Civil Disorder),
 18 U.S.C. § 1752(a)(l) (Entering and Remaining in a Restricted Building or Grounds),
 18 U.S.C. § 1752(a)(2) (Disorderly and Disruptive Conduct in a Restricted Building or Grounds),
 40 U.S.C. § 5104(e)(2)(D) (Disorderly Conduct in a Capitol Building),
 40 U.S.C. § 5104(e)(2)(G) (Parading, Demonstrating, or Picketing in a Capitol Building).
                                                                                       G• M.1chaeI Harvey G    Digitally signed by
                                                                                                                   M' h H
Date:           08/27/2024                                                                                       • 1c aeI arvey
                                                                                                 Issuing officer's signature

City and state:                    Washington, D.C.                                   G. Michael Harvey, U.S. Magistrate Judge
                                                                                                   Printed name and title

                                                                         Return

          This warran~ received on (date)                   '?(z.J{z:oV( , and the person was arrested on (date)
at (city and state) _ _ _ _ : : = - - = . = = - , ~ r T(t            .

Date: ~1()1,'(


                                                                                   9.i:m,/ 1I ~ h}·sffl>< /fy/a¼I
                                                                               I            ~inted name and title
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AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of &ROXPELD
                                                                                              SA:24-MJ-1224
                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.
                       Steven Hassel
                                                                    )
                      DOB: XXXXXX                                   )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of                             in the
                         LQ WKH 'LVWULFW RI       &ROXPELD      , the defendant(s) violated:

            Code Section                                                     Offense Description
        18 U.S.C. § 231(a)(3) (Civil Disorder),
        18 U.S.C. § 1752(a)(1) (Entering and Remaining in a Restricted Building or Grounds),
        18 U.S.C. § 1752(a)(2) (Disorderly and Disruptive Conduct in a Restricted Building or Grounds),
        40 U.S.C. § 5104(e)(2)(D) (Disorderly Conduct in a Capitol Building),
        40 U.S.C. § 5104(e)(2)(G) (Parading, Demonstrating, or Picketing in a Capitol Building).


         This criminal complaint is based on these facts:
  6HH DWWDFKHG VWDWHPHQW RI IDFWV




         9
         u Continued on the attached sheet.




$WWHVWHG WR E\ WKH DSSOLFDQW LQ DFFRUGDQFH ZLWK WKH UHTXLUHPHQWV RI )HG 5 &ULP 3 
E\ WHOHSKRQH

Date:             08/27/2024
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ '&                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title



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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

         In January 2021, the FBI opened an investigation on Steven Richard Hassel (Hassel) based
on information received that Hassel unlawfully entered the United States Capitol Building, a
restricted building, on January 6, 2021, in violation of feder
         al law. Your affiant has since reviewed both U.S. Capitol CCTV and open-source footage
that appears to depict Hassel at the U.S. Capitol and its grounds on January 6, 2021.

                                  Identification of Steven Hassel

       Records obtained from Southwest Airlines revealed that Hassel traveled with family
members David Arredondo and S.A. from El Paso International Airport, Texas, to Ronald Regan
National Airport in Arlington, Virginia, on January 4, 2021, and returned to El Paso on January
8, 2021. Hassel is the nephew of David Arredondo and S.A.

        Records obtained from the Capitol Hill Hotel revealed that S.A. booked a hotel room at
the Capitol Hill Hotel, 200 C Street, Southeast, Washington, D.C., from January 4, 2021, to
January 8, 2021 (the Capitol Hill Hotel is approximately ½ mile from the Capitol Building).
Capitol Hill Hotel video surveillance footage showed that individuals matching the description of
S.A., David Arredondo, and Hassel entered the hotel together on January 4, 2021 and exited
together on January 6, 2021. On January 6, 2021, Hassel can be seen leaving the hotel wearing
light gray pants, a black jacket, and a distinctive black backpack with red trim (see Images 1-3).




      Image 1: Hassel arrives at Capitol Hill Hotel with uncles David Arredondo and S.A.




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       Image 2: Hassel leaves Capitol Hill Hotel with uncles David Arredondo and S.A.




       Image 3: Hassel leaves Capitol Hill Hotel with uncles David Arredondo and S.A.

Hassel appeared inside the U.S. Capitol on January 6 wearing the same clothing (see Images 4-5)
         (specifically, light gray pants and a black jacket) and backpack with red trim.




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        Image 15: Hassel walks by office of Minority Leader McCarthy




                    Image 16: Hassel in Capitol Rotunda




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        Your affiant submits there is also probable cause to believe that Hassel violated 40 U.S.C.
§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      Task Force Officer
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
Telephone, on this 27th day of August 2024.


                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      UNITED STATES MAGISTRATE JUDGE




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                                     UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF TEXAS
                                          SAN ANTONIO DIVISION

UNITED STATES OF AMERICA                                  §
Plaintiff,                                                §      No.: SA:24-M-01224(1)
                                                          §       District ofColomhia
vs.                                                       §      24-MJ-J224
                                                          §       Date:August 28, 2024        'T.'/i/
(1)STEVEN HASSEL                                          §
Defendant,                                                §       SWORN ^
AKA:
                               PROCEEDING MEMO - INITIAL APPEARANCE

                Complaint Filed     August 28,2024 |X [Arrest Warrant Issued
                Indictment                                                                       (Date)

                Information

                ProbForml2                                    I X[Agency
                Arrested       in custody - August 28,
                                       2024
                                        Date
           COURT PERSONNEL:
           Magistrate Judge: RICHARD B.FARRER
           Courtroom Deputy:^bigail Chaparro
           Interpreter: Yes
                               m      For the United States:                   EXCUSED
      3.   APPEARANCES:
                                      For the Defendant: _
                                        Address:


                                         Phone:
                                               Retained              FPD                CJA


           PROCEEDINGS:
           a.    X   Defendant found competent.
           b.        Defendant informed of and received copy of charging document.
                     Violation:
           c.   [3n Defendant informed of maximum penalty:



           d.        Defendant informed of constitutional rights.
                My constitutional rights have been explained to me
                Date                                ^ Signature
           e. ^ Defendant informed  of   ^
                                       right to Preliminary  ,i              Hearing:
                     set for                   wmVKr                           P \Q^^0 am



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                         UNITED STATES DISTRICT COURT
                                 WESTIi-RN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

 United States of America                         §
       Plaintiff'
                                                  §
                                                  §
 VS.
                                                  §      Case Number: SA:24-M-01224(1)
                                                  §
(I)Steven Has.scI                                 g
       Defendant



                    ORDER SETTING PRELIMINARY HEARING

               II IS HEREBY ORDERED that the above entitled and numbered case is set for
10:30 AM, in Courtroom A, on the 2nd Floor of the United Stales Federal Courthouse, 262 W.
Nueva Street, San Antonio, TX on Tuesday, September 03, 2024.

               IT IS FURIHER ORDERED that the Clerk of Court shall send a copy of this order
to counsel for defendant, the United States Attorney, U.S. Pretrial Services, United States
Probation Ofllce, and any surety or custodian, if applicable. Further, counsel for the defendant
shall notify the defendant of this selling, if the defendant is on bond, he/she shall be present.

               n IS so ORDERED this 29th day of August, 2024.




                                                      ARD
                                                                                        UDGE




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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

United States of America                    §
                                            §
vs.                                         §      Criminal No. SA:24-M -01224(1)
                                            §
(1) Steven Hassel                           §      Ref: 1:24-MJ-277



                                 ORDER OF REMOVAL

TO THE UNITED STATES MARSHAL FOR THE WESTERN DISTRICT OF TEXAS:

      (1) Steven Hassel                             ,charged in a proceeding pending in the
                                DISTRICT OF COLUMBIA
DISTRICT OF COLUMBIA                   DIVISION for
                                   COMPLAINT
and having been arrested in this district and having waived hearing as evidenced by waiver
attached hereto.

      YOU ARE HEREBY COMMANDED to remove (1) Steven Hassel                        forthwith
to the District of Columbia , District of Columbia             DIVISION, and there deliver
him/her to the United States Marshal for that district or to some other officer authorized to
receive him/her.

      ORDERED at SAN ANTONIO, Texas on 30th day of August, 2024.




                                                ______________________________
                                                RICHARD B. FARRER
                                                UNITED STATES MAGISTRATE JUDGE




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                                                                                            CLOSED
                   U.S. District Court [LIVE]
             Western District of Texas (San Antonio)
 CRIMINAL DOCKET FOR CASE #: 5:24−mj−01224−RBF All Defendants

Case title: USA v. Hassel                                    Date Filed: 08/28/2024

                                                             Date Terminated: 08/30/2024

Assigned to: Judge Richard B. Farrer

Defendant (1)
Steven Hassel                            represented by Duty Pub. Defender−San Antonio
TERMINATED: 08/30/2024                                  Federal Public Defender
                                                        San Antonio Division
                                                        300 Convent St.
                                                        Suite 2300
                                                        San Antonio, TX 78205
                                                        (210) 472−6700
                                                        Fax: 210/472−4454
                                                        Email: janie_craig@fd.org
                                                        TERMINATED: 08/29/2024
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                                                        Designation: Public Defender or Community
                                                        Defender Appointment

                                                       Molly Lizbeth Roth
                                                       Federal Public Defender, TXW
                                                       San Antonio
                                                       300 Convent Street
                                                       Suite 2300
                                                       San Antonio, TX 78205
                                                       210−472−6700
                                                       Email: molly_roth@fd.org
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

Pending Counts                                         Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                      Disposition
None

                                                                                                     1
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Highest Offense Level
(Terminated)
None

Complaints                                                 Disposition
18:231.F−Civil Disorder;
18:1752.P−Entering and Remaining
in a Restricted Building or Grounds;
18:1752.P−Disorderly and
Disruptive Conduct in a Restricted
Building or Grounds;,
40:5104E.M−Disorderly Conduct in
a Capitol Building;
40:5104E.M−Disorderly Conduct in
a Capitol Building;



Plaintiff
USA

 Date Filed      #   Docket Text
 08/28/2024      1   Arrest (Rule 5/Rule 32.1) of Steven Hassel (rqr) (Entered: 08/28/2024)
 08/28/2024      2   Minute Entry for proceedings held before Judge Richard B. Farrer:Initial Appearance
                     as to Steven Hassel held on 8/28/2024. Defendant requests appointment of counsel.
                     (Minute entry documents are not available electronically.) (Court Reporter FTR
                     GOLD.) (rqr) (Entered: 08/28/2024)
 08/28/2024      3   CJA 23 Financial Affidavit by Steven Hassel (SEALED pursuant to E−Government
                     Act of 2002). (rqr) (Entered: 08/28/2024)
 08/28/2024      4   ORDER APPOINTING FEDERAL PUBLIC DEFENDER Duty Pub. Defender−San
                     Antonio for Steven Hassel. Signed by Judge Richard B. Farrer. (rqr) (Entered:
                     08/28/2024)
 08/28/2024      5   WAIVER − Rule 5/Rule 32.1 as to Steven Hassel. (rqr) (Entered: 08/28/2024)
 08/28/2024      6   ORDER Setting Conditions of Release as to Steven Hassel (1) $15,000.00 Unsecured
                     Bond.. Signed by Judge Richard B. Farrer. (rqr) (Entered: 08/28/2024)
 08/28/2024      7   Unsecured Bond Filed as to Steven Hassel in amount of $ 15,000.00. (rqr) (Entered:
                     08/28/2024)
 08/28/2024      8   NOTICE OF ATTORNEY APPEARANCE: Molly Lizbeth Roth appearing for Steven
                     Hassel . Attorney Molly Lizbeth Roth added to party Steven Hassel(pty:dft) (Roth,
                     Molly) (Entered: 08/28/2024)
 08/29/2024    10    ORDER SETTING PRELIMINARY HEARING as to Steven Hassel, ( Preliminary
                     Hearing set for 9/3/2024 10:30 AM before Judge U.S. Magistrate Judge,). Signed by
                     Judge Richard B. Farrer. (mgr) (Entered: 08/30/2024)


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08/30/2024    9   Waiver of Preliminary Hearing by Steven Hassel (Roth, Molly) (Entered: 08/30/2024)
08/30/2024   11   COMMITMENT TO ANOTHER DISTRICT/DIVISION as to Steven Hassel.
                  Defendant committed to District of Columbia.. Signed by Judge Richard B. Farrer.
                  (rqr) (Entered: 09/01/2024)




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